Case: 1:14-cr-00020-SNLJ Doc. #: 158 Filed: 07/29/20 Page: 1 of 2 PageID #: 909




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
vs.                                            )    No. 1: l 4CR00020 SNLJ- 2
                                               )
BILLY G. BIGGS,                                )
                                               )
               Defendant.                      )


      DEFENDANT'S MOTION FOR EXTENSION OF TIME TO FILE REPLY TO THE
      GOVERNMENT’S RESPONSE TO MOTION FOR COMPASSIONATE RELEASE

         COMES NOW Defendant, by and through counsel, and requests an extension of time in

which to reply to the Government’s Response to his Motion for Compassionate Release filed on

July 21, 2020. Counsel requires additional time to prepare the motion. Therefore, counsel

requests an additional 21 days, up to and including August 11, 2020.

                                            Respectfully submitted,

                                            /s/Michael A. Skrien
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                                            Assistant Federal Public Defender
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                                            ATTORNEY FOR DEFENDANT
Case: 1:14-cr-00020-SNLJ Doc. #: 158 Filed: 07/29/20 Page: 2 of 2 PageID #: 910




                                CERTIFICATE OF SERVICE

        I hereby certify that on July 29, 2020, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court's electronic filing system upon Keith
Sorrell, Assistant United States Attorney.

                                             /s/Michael A. Skrien
                                             Michael A. Skrien
